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UNITED STATES DISTRICT COURT 43. Bradley, Clerk of Court

SOUTHERN DISTRICT OF TEXAS Davi

 

HOUSTON DIVISION

UNITED STATES OF AMERICA §

§
VS. § CRIMINAL NO.

§ .
DAVID WAYNE MEARIS, § "
Defendant. § 1 9 CR b Z A

CRIMINAL INDICTMENT
THE GRAND JURY CHARGES THAT:
COUNT ONE

(Sex Trafficking of a Minor)
From on or about January 1, 2009, through October 22, 2011, in the Southern District

of Texas and elsewhere,

DAVID WAYNE MEARIS,
defendant herein, in and affecting interstate and foreign commerce, knowingly recruited, enticed,
harbored, transported, provided, obtained, and maintained, by any means a person, namely a minor
female known as JANE DOE #1, who had attained the age of 14, but was under 18, and benefitted
financially and by receiving anything of value from participation in a venture which has engaged in
recruiting, enticing, harboring, transporting, providing, obtaining, and maintaining by any means
JANE DOE # 1, knowing and in reckless disregard of the fact that (1) means of force, threats of
force, fraud, and coercion, and any combination of such means, would be used to cause JANE DOE
# 1 to engage in a commercial sex act, and that (2) JANE DOE # 1, whom defendant had a

reasonable opportunity to observe, had not attained the age of 18 years and would be caused to
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engage in a commercial sex.

In violation of Title 18, United States Code, Section 1591(a), (b), (c) and Section 2.

COUNT TWO
(Sex Trafficking by Force, Fraud or Coercion)

From on or about October 24, 2011, through September 14, 2017, in the Southern

District of Texas and elsewhere,
DAVID WAYNE MEARIS,

defendant herein, in and affecting interstate and foreign commerce, knowingly recruited, enticed,
harbored, transported, provided, obtained, and maintained, by any means a person, namely a female
known as JANE DOE # 1, and benefitted financially and by receiving anything of value from
participation in a venture which has engaged in recruiting, enticing, harboring, transporting,
providing, obtaining, and maintaining, by any means JANE DOE # 1, knowing and in reckless
disregard of the fact that means of force, threats of force, fraud, and coercion, and any combination
of such means, would be used to cause JANE Doe # | to engage in a commercial sex act.

In violation of Title 18, United States Code, Section 1591(a), (b)(1), and Section 2.

COUNT THREE
(Sex Trafficking of Minors)

From on or about July 1, 2016, through July 30, 2016, in the Southern District of

Texas and elsewhere,

DAVID WAYNE MEARIS,
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defendant herein, in and affecting interstate and foreign commerce, knowingly recruited, enticed,
harbored, transported, provided, obtained, advertised, maintained, patronized and solicited, or
attempted to do so, by any means a person, namely a minor female known as JANE DOE # 2, who
had attained the age of 14, but was under 18, and benefitted financially and by receiving anything of
value from participation in a venture which has engaged in recruiting, enticing, harboring,
transporting, providing, obtaining, maintaining, advertising, patronizing and soliciting by any means
JANE DOE # 2, knowing and in reckless disregard of the fact that (1) means of force, threats of
force, fraud, and coercion, and any combination of such means, would be used to cause JANE DOE
# 2 to engage in a commercial sex act, and that (2) JANE DOE # 2, whom defendant had a
reasonable opportunity to observe, had not attained the age of 18 years and would be caused to
engage in a commercial sex.

In violation of Title 18, United States Code, Section 1591(a), (b), (c) and Section 2.

NOTICE OF FORFEITURE
(18 U.S.C. § 1594(d))
Pursuant to Title 18, United States Code, Section 1594(d), the United States gives notice to
defendant,
DAVID WAYNE MEARIS,
that in the event of conviction of an offense in violation of Title 18, United States Code, Section 1591,
as charged in this Indictment, the following property is subject to forfeiture:

(1) all real and personal property that was involved in, used, or intended to be used to commit
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or to facilitate the commission of such violation and all property traceable to such property;

and

(2) all real and personal property constituting or derived from, proceeds obtained, directly or

indirectly, as a result of such violation and all property traceable to such property.

Money Judgment and Substitute Assets

The United States may seek the imposition of a money judgment against the defendant.
Defendant is notified that in the event that one or more conditions listed in Title 21, United States
Code, Section 853(p) exists, the United States will seek to forfeit any other property of the defendant
up to the total value of the property subject to forfeiture.

A True Bill:

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ORIGINAL SIGNATURE ON FILE

 

Grand J ury Foreperson

RYAN K. PATRICK
United States Attorney

By: fhe x Zh
Sherri L. Zack
Assistant United States Att6

713-567-9374
